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SYLINIA JACKSON, ON BEHALF OF HERSELF
AND ALL OTHER PERSONS SIMILARLY
SITUATED,
                                                 Civil Action No. 1:24-cv-04269




NDAL MFG, INC.,




                        NDAL MFG, INC.
                        80 Garden Court, Suite 100
                        Monterey, CA 93940




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     06/05/2024                                                        /S/ V. BRAHIMI
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